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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                BRUNSWICK DIVISION



STATE OF GEORGIA, et al.,                            No. 2:15-cv-00079 LGW-BWC

               Plaintiffs,
       v.

ANDREW R. WHEELER, in his official
capacity as Acting Administrator, U.S.
Environmental Protection Agency, et al.,

               Defendants.



                         UNITED STATES’ POST-HEARING BRIEF

       The United States Environmental Protection Agency (“EPA”) and Department of the

Army, United States Army Corps of Engineers (“Army” or “Corps”) (together, “the Agencies”)

submit this brief to expand upon points not fully addressed in the December 14, 2018 oral

argument.

       1.      Chevron Deference

       In their reply brief (ECF No. 222 at 13) and at oral argument (Transcript at 29), the

Plaintiff States cite a recent D.C. Circuit Court of Appeals decision for proposition that the Court

should not apply Chevron deference to the Agencies’ interpretation of the Clean Water Act.

ECF No. 222 at 13, Transcript at 29, (citing Global Tel*Link v. FCC, 866 F.3d 397, 407–08

(D.C. Cir. 2017)).

       In Global Tel*Link, several petitioners sought review of a 2015 order of the Federal

Communications Commission. Following the presidential inauguration in January 2017, counsel

for the Commission advised the court of a change in the composition of the Commission, and

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that “a majority of the current Commission does not believe that the agency has the authority to

cap intrastate rates under section 276 of the Act.” Id. at 402. Counsel thus informed the court

that the agency was “abandoning [its] contention ... that the Commission has the authority to cap

intrastate rates” for certain providers and “that the Commission lawfully considered industry-

wide averages in setting the rate caps.” Id. The D.C. Circuit noted that it would typically apply

Chevron deference to an agencies’ interpretation of the relevant statute. Id. at 407 (citing

Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837 (1984)). However, the court

found that under the circumstances, “it would make no sense for this court to determine whether

the disputed agency positions advanced in the Order warrant Chevron deference when the

agency has abandoned those positions.” Id. at 408.

       While in Global Tel*Link the Commission specifically informed the court of a change of

the Commission’s position with respect to the agency action under review, here the Agencies

have not reached a final decision as to the 2015 WOTUS Rule. Nor have they otherwise

disclaimed the prior interpretation up to this point, although the Agencies have proposed to

repeal their prior interpretation and have also proposed a new definition of “waters of the United

States.” See ECF No. 233 (Agencies’ December 13, 2018 Status Report).

       2.      Updated Status of Pending Challenges to 2015 Rule

       The Agencies provide the following updated status report for the pending district court

challenges to the 2015 Rule. New information is in bold.

               Case                                           Status

Georgia v. Wheeler                                   summary judgment motions fully briefed; oral
Case No. 2:15-cv-79 (S.D. Ga.)                       argument held December 14, 2018
North Dakota v. EPA                                  summary judgment motions fully briefed;
Case No. 3:15-cv-59 (D.N.D.)                         motion for oral argument pending
Texas v. EPA                                         summary judgment motions fully briefed
Case No. 3:15-cv-162 (S.D. Tex.)

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American Farm Bureau Fed’n v. EPA                  summary judgment motions fully briefed
Case No. 3:15-cv-165 (S.D. Tex.)
Texas Alliance for Responsible Growth, Env’t       stayed
& Transp. v. EPA
Case No. 3:18-cv-176 (S.D. Tex.)
Ass’n of American Railroads v. EPA                 answer filed
Case No. 3:15-cv-266 (S.D. Tex.)
Ohio v. U.S. Army Corps of Engineers               motion for preliminary injunction pending
Case No. 2:15-cv-2467 (S.D. Ohio)
Oklahoma v. EPA                                    status conference held December 21, 2018;
Case No. 4:15-cv-381 (N.D. Okla.)                  updated preliminary injunction motions due
                                                   January 16, 2019
Chamber of Commerce v. EPA                         status conference held December 21, 2018;
Case No. 4:15-cv-386 (N.D. Okla.)                  updated preliminary injunction motions due
                                                   January 16, 2019
Southeastern Legal Foundation, Inc. v. EPA         stayed
Case No. 1:15-cv-2488 (N.D. Ga.)
Southeast Stormwater Ass’n v. EPA                  stayed
Case No. 4:14-cv-579 (N.D. Fla.)
Puget Soundkeeper Alliance v. EPA                  stayed
Case No. 2:15-cv-1342 (W.D. Wash.)
Am. Exploration & Mining Ass’n v. EPA              case administratively closed; status report due
Case No. 1:16-cv-1279 (D.D.C.)                     May 7, 2019
Waterkeeper Alliance, Inc. v. Wheeler              case management conference scheduled for
Case No. 18-cv-3521 (N.D. Cal.)                    January 24, 2019


Date: December 24, 2018             Respectfully submitted,

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